Case 2:05-cv-02371-.]DB-dkv Document 20 Filed 07/25/05 Page 1 of 3 Page|D 12

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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 05 JUL 25 H 3_. all
WESTERN DIVISION

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CoNSoLIDATED CoNTAINER ) ‘WD ‘-f=£ fl‘»- males
COMPANY LP, )
)
PLAINTIFF, ) CIVIL ACTIoN
) FILE No. 05-2371 Bv
vs. )
)
WARREN UNILUBE, INC., )
)
DEFENDANT. )

 

ORDER GRANTING PLAINTIFF’S MOTION
FOR LEAVE TO FILE OVERLENGTH MEMORANDUM

 

Before the Court is the Unopposed Motion of Plaintiff Consolidated Container Company LP
for Leave to File Overlength Memorandum in support of its motion for preliminary inj unction. The
Court hereby finds the motion is Well-taken and should be granted

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED, that Plaintiff is granted

permission to tile an overlength memorand pport of its motion for preliminary injunction

C:JJEEJ. ANIEL BREEN\
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Honorable J. Breen
US DISTRICT COURT

